                 IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
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CRUZ EDUARDO VALENCIA-ADATA                           rt.13               C\.E.R'-


       THE MOVANT,
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            v.                                  Case No. 5:O8-CR-75-FL
                                                    No. 5:19-CV-466-FL
 UNITED STATES OF AMERICA
     THE RESPONDENT.


MOVANT'S RESPONSE TO U.S. MAGISTRATE JUDGE ROBERT T. NUMBERS, II'S
                     MEMORANDUM AND RECOMENDATION


   Now comes, Cruz Eduardo Valencia-Adata, hereinafter, the Movant,
a Prose litigant, who most humbly and respectfully submits this
Memorandum in response to U.S. Magistrate Judge Robert T. Numbers,
II's Memorandum and Recomendation.


                              r.   ARGUMENT
   The Movant in no moment seeks to disrespect Honorable Magistrate
Judge Robert T. Numbers, II, on the contrary, the Movant acknowledges
the Honorable Magistrate's superiority over the Science of Law. The
Movant brings forth the following statement regarding on why he
believes is entitled to relief.


   The Movant is not denying knowing he was an illegal alien, neither
knowledge of possessing a firearm. What the Movant is challenging is
that he had no knowledge that he belonged to the relevant category


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of persons barred from possessing firearms at the time he possessed

the firearms, and furthermore, that he did not know that his behavior

was affecting interstate commerce.



   Now, the Movant does disagree that because he plead guilty this

implies that he waived all his rights to challenge his conviction.

As Honorable Chief Judge Louise Wood Flanagan can verify, the Movant's

Plea Agreement does not say, anywhere, that the Movant was explained

neither by the Government nor his lawyer the material elements that

needed to be met in order to be convicted under Title 18 U.S .C. §922

(g)(S) and §924(a)(2), the Plea Agreement only says:

      (3) Elements:
          First: The Defendant, on or about February 19, 2008,

                 knowingly possessed a .40 caliber Glock handgun

                 and a Winchester, Model 1400, 12 gauge shotgun
                 on or about February 19, 2008;

          Second:the firearms traveled in interstate commerce; and

          Third: at the time the Defendant possessed the firearm, he

                 was an alien illegally and unlawfully in the United

                 States.

Then, the Plea Agreement moves forward to state the penalty set for

violating §922(g)(5) and §924(a)(2). The Plea Agreement states only

that the Movant knew he had firearms and that at the time he had the

firearms he was an illegal allien, but fails to declare that he

belonged to the relevant category of persons barred from possessing

firearms at the time he possessed the firearms, and furthermore,   that

he did know that his behavior was affecting interstate commerce.

(please see Memorandum of Plea Agreement, Document 73, filed 01/07/09).



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  Also, the Movant is not claiming to have a Rehaif case, for the

difference is obvious between both cases. The Movant filed a §2255

under actual innocence for the Movant avers that if his sufficiency-

of-the-evidence challenge were evaluated according to the standard

set forth in Rehaif, the evidence that the Government admitted would

be inadequate to support his conviction, that is, the evidence

presented by the Government at the time the Movant plead guilty was

insufficient to prove that the Movant "KNEW" that he belonged to the

relevant category of persons barred from possessing firearms at the

time he possessed the firearms, and furthermore, that he did not know

that his behavior was affecting interstate commerce. As Justice Breyer

states in his opinion of the Supreme Court, "His behavior may instead

be an innocent mistake to which criminal sanctions normally do not

attach."



   Theref?re, the Movant's claim is straight forward, his conviction

and sentence on Count Two(2) is unconstitutional because the Movant

does not meet the language and purpose of the material elements of

Title 18 U.S.C. §922(g)(5) and §924(a)(2) as set forth by Congress.

The Movant's behavior never violated the "KNOWINGLY" clause (material

element) "REQUIRED" in order to be convicted under Title 18 U.S.C.

§922(g)(5) and §924(a)(2).



   "Unless the Government proves beyond a reasonable doubt that the

defendant has committed "EVERY ELEMENT" of the offense with which he

is charged, you must find him not guilty." (Devitt and Blackmar,

Federal Jury Practice and Instructions, 3rd. Ed., 1977 Section 11.15)

(emphasis added).




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  Moreover, nothing handed down by Congress holds sentences under

Title 18 U.S.C. §922(g)(S) and §924(a)(2) to be contingent with

supposition, that is, to assume that the Movant's conduct was meant

to violate the Law. Therefore, the Movant rightly challenges his

conviction and sentence based upon the prosecutor's misapplication

of Law, which led this Honorable Court to believe that the Movant

violated "ALL" the material elements of Title 18 U.S.C. §922(g)(S)

and §924(a)(2).



   "Sentences are illegal or unlawful if imposed 'WITHOUT' or in

'EXCESS' of statutory authority" (Sun Bear v. United States, 664
F.3d 700 (8th Cir. 2011)(en banc)(emphasis added). By being misled

by the prosecutor's offer in the Plea Agreement, and his lawyer's

advise, the Movant agreed to a plea, when he was not told by either

party or the Plea itself (see exhibit A) that he did not meet the

language and purpose of Title 18 U.S.C. §922(g)(S) and §924(a)(2).



   Nowhere in the Plea Agreement proves that the Movant was explained

the Material Elemenets of Title 18 U.S.C. §922(g)(S) and §924(a)(2)

in order to "KNOWINGLY" and "INTELLIGENTLY" accept a plea of guilty.

Therefore, during the Change of Plea Hearing, when the Honorable ·

Court asked the Movant if he understood everything the lawyer said

to him about what is written in the Plea Agreement, the only posible

~esponse was~ to what it is in black and white, but still, the

material elements of the crime have not been explained nor mentioned.



   The Plea Agreement failed to state the Factual Basis of the Crime,

that is, the real notice of the true nature of the crime against the



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Movant. Therefore, the Movant avers that a plea of guilty is
"CONSTITUTIONALLY VALID" only to the extent it is "VOLUNTARY" and
"INTELLIGENT." See Brady v. United States, 397 U.S. 742, 748 (1970).
A Plea does not qualify as intelligent unless a criminal defendant

first receives "real notice of the true nature of the charge a g ainst

him, the first and most universally recognized requirement of Due

Process." See Smith v. O'Grady, 312 U.S. 329, 334 (1941).



   The Movant's plea of guilty to the charge was predicated upon the

advise of his defense counsel, who believed that the mere possession of

firearms by an illeg al alien was a violation of §922( g )(5) and §924

(a)(2). Furthermore, this erroneous belief was also held by the

prosecuting attorney who drafted the Indictment and the District Court

Judge who found a factual basis for the Movant's guilty plea. In fact,

however, this belief by the Movant, his attorney, the prosecutor and

the Court was erroneous. Simple possession of firearms by the Movant

was not illegal. The Movant's g uilty plea was "NOT" entered knowingly

and voluntarily because he did not receive real notice of the true

nature of the char g e a g ainst him. Therefore, this should give merit

to "VACATE" the Movant's conviction and sentence under Title 1 8 U.S.C.

§922(g)(5) and §924(a )( 2) char g e.



   Congress created the Law, and given the inherent connection between

the crime and its stated punishment, Congress included within the

Statutes, the material elements which are "REQUIRED" to be satisfied

in order to "LEGALLY" sentence a defendant to a certain number of

years in prison. These material elements work as the links of a chain,

if one of these links is .. MISSING" then the chain is bro k en, and



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therefore, the material elements of the Statute "HAVE NOT" been
satisfied/met in order to find a defendant guilty as charged, that is,

there has been "NO VIOLATION" to the Statute, in the Movant's case,

the "KNOWINGLY" element has not been met, for the Movant did not know

he belonged to the relevant category of persons barred from possessing

firearms at the time he possessed the firearms, and furthermore,    the

Movant did not know that his behavior was affecting interstate commerce.



   It is well to recall that offenses "consist of the essential

elements of the crime." United States v. Brown, 119 Fed App'x 494, 498

(4th Cir. 2005)(quoting United States v. Harris, 128 F.3d 850, 8 54

(4th Cir. 1997))(internatl quotation marks omitted). And, it is settled

that a "criminal law provision is made up of "MATERIAL ELEMENTS."

These are the pieces of a crime, each of which must be proven beyond

a reasonable doubt to the fact finder in the case." Jens David 0hlin,

Criminal Law:Doctrine, Application, and Practice 20 (2d ed. 2018)

(emphasis added). Furthermore, the Due Process Clause requires the

prosecution to prove beyond reasonable doubt each element of the

offense. Patterson v. New York, 432 U.S. 197, 215, 97 S. Ct. 2319,

53 L. Ed. 2d 281 (1977)(noting that Supreme Court "held that a State

must prove every ingredient of an offense beyond reasonable doubt,

and that it may not shift the burden of proof to the defendant by

presuming that ingredient upon proof of the other elements of the

offense"); see also Kevin F. 0'Malley, Jay E. Grenig, & Hon. William

C. Lee, Fed. Jury Practice & Instructions 161 (6th ed. 2008)("The

burden is always upon the prosecution to prove guilt beyond a

reasonable doubt").




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  To support issuance of a warrant for arrest, "[e]vidence sufficient

to secure a conviction is not required, but probable cause exists

only if there is sufficient evidence on which a reasonable officer

at the time could have believed that probable cause existed for the

arrest." Hupp v. Cook, 931 F.3d 307, 318 (4th Cir. 2019). That is,

"[p]robable cause does not require the same type of specific evidence

of each element of the offense as would be needed to support a

conviction." Sennett v. United States, 667 F.3d 531, 535 (4th Cir.

2012)(quoting Adams v. Williams, 407 U.S. 143, 149 92 S. Ct. 1921,

32 L. Ed. 2d 612 (1972))(internal quotation marks omitted). This

Honorable Court is obliged by Congress to consider centrally the

elements of the crimes charged.



   In the Movant's case, the Government manipulated the Statute to

"FILL IN" a missing material elements, and by doing so, the prosecution
performed a task outside the bounds of judicial interpretation.

Therefore, this action made the Movant's conviction and sentence

unconstitutional, illegal or unlawful. This Honorable Court may find

that the Movant is entitled to relief because the Law was manipulated

in order to "FILL IN" a missing material element, the evidence that

the Government admitted is inadequate to support the Movant's conviction,

rather, if the Movant's sufficiency-of-the-evidence challenge were

evaluated according to the standard set forth in Refaif, this

Honorable Court will find that the evidence presented by the Government

at the time the Movant plead guilty was insufficient to prove that

the Movant "KNEW" he belonged to the relevant category of persons
barred from possessing firearms at the time he possessed the firearms,

and furthermore, that the Movant "KNEW" that his behavior was affecting



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interstate commerce.



   Finally, the Government alleges that the Movant entered a valid

guilty plea, and alle g es that the Movant had knowledge of being an

illegal alien and that he knew he possessed firearms,   these statements

are true, nevertheless, none of these assertions "PROVE" that the

Movant, as an illegal alien, "KNEW" that he belonged to the relevant

category of persons barred from possessing firearms at the time he

possessed the firearms, and furthermore,   that the Movant "KNEW" that

his behavior was affecting interstate commerce. Accordin g to Justice

Breyer, the Movant's "behavior may instead be an innocent mistake

to which criminal sanctions normally do not attach."(emphasis added).



   "KNOWINGLY" means that the act was done "VOLUNTARILY"    and

"INTENTIONALLY", not because of mistake or accident. Knowledge on the
part of the Movant "CANNOT" be established merely by demonstrating

that the Movant, as an illegal alien, was in possession of firearms.

Accordingly, since the Government "FAILED" to prove the Movant's

"MENS REA" his conviction and sentence on Count Two(2) under Title
18 U.S.C. §922(g)(S) and §924(a)(2) must be "VACATED."



                          II. CONCLUSION
   To convict the Movant under Title 1 8 U.S.C. §922(g) ( S) and §924

(a)(2), the Government therefore must prove that the Movant "KNEW"

he possessed a firearm "AND ALSO" that the Movant "KNEW" he belonged

to the relevant category of persons barred from possessing firearms
at the time he possessed the firearms, and furthermore, that the

Movant "KNEW" that his behavior was affecting interstate commerce.



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   evenmore, by specifying that the Movant may be convicted "ONEY"
if he "KNOWINGLY," that is, not by mistake or accident, violates
Title 18 U.S.C. §922(g)(5) and §924(a)(2), Congress intended to
"REQUIRE" the Government to "ESTABLISH" that the Movant "KNEW" he
violated the material elements [REQUIRED] by the Statute, that is,
that the Movant had knowledge that his actions and behavior had the
intention to violate the Law.


   Accordingly, for the reasons and authorities stated herein, the

Movant's conviction and sentence under Title 18 U.S.C. §922(g)(5) and
§924(a)(2) is "UNCONSTITUTIONAL," and therefore must be "VACATED."
May our LORD JESUS CHRIST guide this Honorable Court as she rules
upon this motion, AMEN.


Respectfully submitted this   s th   day of february, 2020.



                                             Cruz Eduardo Valencia-Adata
                                             Reg. No. 51077-056
                                             FCI Estill
                                             P.O. Box 699
                                             Estill, SC 29918




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                           III. VERIFICATION
    I, Cruz Eduardo Valencia-Adata, hereby verify that the information
provided herein, is true and accurate to the best of my knowledge
under penalty of perjury 28 U.S.C. §1746; 18 U.S.C. §1621.


                                               L rez vo/4,,vr 112
           This s th day of february, 2020   Cruz Eduardo Valencia-Adata
                                             Reg. No. 51077-056
                                             FCI Estill
                                             P.O. Box 699
                                             Estill, SC 29918


                       IV. CERTIFICATE OF SERVICE
    I, Cruz Eduardo Valencia-Adata, hereby certify that on February
s th ,   2020, a true and correct copy of the foregoing was deposited
in the Prison Legal Mailing System addressed to the AUSA on record.
Certified Mail 7019 0700 0001 6194 20 89.




Executed on this 4 th day of February, 2020.



                                             Cx:«z    vale&cro
                                             Cruz Eduardo Valencia-Adata
                                             Reg. No. 51077-056
                                             FCI Estill
                                             P.O. Box 699
                                             Estill, SC 29918




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         EXHIBIT A
MEMORANDUM OF PLEA AGREEMENT
...   ,,




                                   UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NORTH CAROL INA
                                         SOUTHERN DIVISION

                                        NO. 5:08-CR-75-FL           FILEDtN
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                                                                     Us District varone, Cleric
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                                                                              ISfrict   of Ne
           UNITED STATES OF AMERICA

                       v.
                                                      MEMORANDUM OF PLEA AGREEMENT
           CRUZ EDUARDO VALENCIA-ADATA
                a/k/a
                "Mar co Antonio Valencia " and
                "Lal o"



                The United States of America ("Un ited States "), by and through
           the United States Attorney for the Eastern District of North
           Carolina ("USA-EDNC"), and the Defendant , with the concurrence of
           the Defendant's Attorney, David B. Freedman, have agreed that the
           above-captioned case should be concluded in accordance with this
           Memorandum of Plea Agreement as follo_ws :

                1.   This Memorandum constitutes the full and complete record
           of the Plea Agreement.  There are no other agreements between the
           parties in addition to or different from the terms herein .

                2.    The Defendant agrees:

                      a.       To waive indictment and plead guilty to the Criminal
                               Information herein .

                      b.       To make restitution to any victim including any
                               victim with respect to a Count dismissed as part of
                               the agreement in whatever amount the Court may
                               order, pursuant to 18 U.S.C. §§ 3663 and 3663A.
                               Said   restitution  shall   be   due  and   payable
                               immediately .

                      c.       To waive knowingly and expressly all rights ,
                               conferred by 18 U.S.C. § 3 74 2 , to appeal whatever
                               sentence is imposed , incl uding any issues that
                               relate to the establishment of          the advisory
                               Guideline range , reserving only the right to appeal
                               fr om a sentence in excess of the applicable advisory
                               Guideline range that is established at sentencing ,
                               and further to waive all rights to contest the



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        conviction or sentence in any post-conviction
        proceeding, including one pursuant to 28 U.S.C. §
        2255, excepting an appeal or motion b ased upon
        grounds of ineffective assistance of counsel or
        pr o secutorial misconduct not known to the Defendant
        at the time of the Defendant's guilty plea.       The
        foregoing appeal wai v er does not const i tute or
        trigger a waiver by the United States of any of its
        rights to appeal provided by law.

  d.    To waive all rights, whether asserted directly or
        through a representative, to request or receive from
        the United States any records pertaining to the
        investigation or prosecution of this matter, except
        as provided in the Federal Rules of Criminal
        Pro cedure. This waiver includes, but is not limited
        to, r i ghts conferred by the Freedom of Information
        Act and the Privacy Act of 1974.

  e.   To ass i st the United States in the recovery and
       forfeiture of any assets which facilitated and/or
       were acquired through unlawful activities, including
       all such assets in which the Defendant has any
       interest or control.       Specifically, the Defendant
       agrees to voluntarily forfeit and relinquish to the
       United States the property specified in the Criminal
       Inf o rmation.    The Defendant further agrees to sign
       an y d o cuments necessary to effectuate the f o rfeiture
       and waives any further notice .       In addition, the
       Defendant      forfeits   and  otherwise   waives     any
       ownership right in all items seized during the
       investigation o f the acts alleged in the Criminal
       Information.      The Court has jurisdiction over the
       disp o sition o f    such items and may o rder the
       investigative agency to dispose of the items in such
       manner as provided by the agency's regulations.
       Fo rfeited firearms will be ordered destr oy ed.

  f.    To pay a special assessment of $ 3 00.00, pu r suant to
        the pr o visions of 18 U.S.C. § 3 01 3. The assessment
        shall be paid by the Defendant at sentencing.       The
        Defendant or Defendant's counsel shall provide a
        check in payment of the said assessment di r ectly to
        the Clerk, U.S. District Court/EDNC.

 g.    To c o mplete and submit, if requested, a financial
       statement under oath to the Office of the USA-EDNC


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             no later t h an   two   weeks   af ter   the   entry of the
             guilty plea.

       h.    To abide by any conditio n s of release pending
             sentencing and report  timely   for  service of
             sentence.

       i.    Whenever called upon to do so by the United States,
             (1) to disclose fully and truthfully in interviews
             with Government agents information concerning all
             conduct related to the Crimi nal Information and any
             other crimes of whic h the Defendant has knowledge ,
             and (2) to testify fully a nd truthfully in any
             proceeding . These obligatio n s are continuing ones .
             The Defendant agrees that all of these statements
             can be used against the Defendant at trial if the
             Defendant withdraws from this plea agreement or is
             allowed to withdraw the guilty plea .

       j.    If the Defendant provides false, incomplete, or
             misleading information or testimony, this would
             constitute a breach of t his Agreement by the
             Defendant, and the Defenda n t shall be subject to
             prosecution for any federa l criminal violation . Any
             information provided by the Defendant may be used
             against the Defendant in such a prosecution.

       k.    To submit to a polygraph examination whenever
             requested by the Office of the USA-EDNC.          The
             results of these examinations will be admissible
             only at the Defendant's sentencing, and at any
             hearing as to whether there has been a breach of
             this agreement . The United St ates may rely on these
             results in determining whe t her the Defendant has
             fulfilled any obligation under this Agreement .

3.     The Defendant understands, agrees , and admits:

       a.    That as to each count of the Information to which
             the Defendant is pleading guilty , the charge, code
             section, elements , and applicable penalties are as
             follows:




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        Count One:

        (1)    Charge: Conspiracy to distribute and possess
               with intent to distribute five (5) kilo grams
               or more of cocaine , a Schedule II controlled
               substance

        (2)    Code Section violated:      21 U.S . C. § 846

        ( 3)   Elements:
               First: That be g inning in or about early 2006 ,
               and continu i ng until on or about February 19,
               2008 , the Defe nd ant a nd others , both known and
               unknown , conspired toge ther to unlawfully and
               intentionally distribute and possess with
               intent to distribute five (5) kilograms o r more
               of cocaine;


               Second: the defendant knew      of    the      unlawful
               purpo se of the agreemen t;

               Third: the def en dant joined in the agree ment
               willfully , that is , with the intent t o further
               its unlawful purpose.

        (4)    Maximum term of imprisonment: Life.

        (5)    Minimum term of impris onment : 10 years .

        (6)    Maximum term of supe rvise d release: 5 years.

        (7)    Maximum term of imprisonment up on revocation
               of supervised release: 5 years.

        (8)    Maximum fine: $4 , 000 , 000.

        (9)    Res titut ion pursuan t t o 18 U.S . C. §§ 366 3 and
               3663A , as agreed to in Paragraph 2(b) above .

        (10) Special assessment: $ 1 00.

        Count Two:

        (1)    Charge:    Possession of firearms by an illeg al
               alien

        (2 )   Code Section violated:      18 U. S .C.   §   922 (g) (5)

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        (3)    Elements:

               First:      The Defendant , on or about February
                           19, 2008, knowingly possessed a .40
                           caliber    Glock   handgun   and   a
                           Winchester, Model 1400 , 12 gauge
                           s h otgun on or about February 19,
                           20 0 8;

               Second:     the firearms traveled in interstate
                           commerce ; and

               Third:      at the time the Defendant possessed
                           the   firearm , he  was   an  alien
                           illegally and unlawfully in the
                           United States.

        ( 4)   Maximum term of imprisonment: 10 years (or Life
               if found to be an Armed Career Crimina l under
               1 8 U.S.C. § 924 (e))

        ( 5)   Minimum term of imprisonment:    None (or 12
               years if found to be an Armed Career Cr iminal
               under 18 U.S . C. § 924(e))

        ( 6)   Maxi mum term of supervised release: 3 years
               (or 5 years if found to be an Armed Career
               Criminal under 18 U.S . C. § 924(e))

        (7)    Maximum term of imprisonment upon revo cation
               of supervised release: 3 ye ars (or 5 years if
               found to be an Armed Career Criminal under 18
               U.S.C. § 924 (e))

        (8)    Maximum fine:     $250 , 000

        (9)    Res titut ion pursuant to 18 U.S.C. §§ 366 3 and
               3663A, and as agreed t o in Paragraph 2 .b.
               abov e .

        (1 0) Special assessment:       $100.

        Count Three :

        (1)    Charge:     Conspiracy         to   Launder   Monetary
               Instruments


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        (2)    Code Section violated: 18 United States Code
               §1956 (h)

        (3)    Elements:

               First:      Beginning in or about July 2006 and
                           continuing thereafter up to on or
                           about February 19, 2008, an agreement
                           to violate money laundering laws
                           existed between two or more persons;

               Second:     The Defenda nt knew of the unlawful
                           purpose of the conspiracy;

               Third:      The     Defendant          knowingly and
                           voluntarily became     a    part of this
                           conspiracy.

        ( 4)   Maximum term of imprisonment: 20 years

        (5)    Minimum term of imprisonment: None

        ( 6)   Maximum term of s uperv i sed release: 3 years

        ( 7)   Maximum term of imprisonment upon revocation
               of supervised release : 2 years

        (8)    Maximum fine: $500 , 000 or twice the value of
               the property involved in the transactions,
               whichever is greater.

        (9)    Restitution pursuant to 18 U.S . C. §§ 3663 and
               3663A, and as agreed to in Paragraph 2 . b.
               above.

        (10) Special assessment:       $100

  Total Statutory Maximum Sentence: Life pl us 30 years
  imprisonment, whichever is greater a $4,750,000 fine or
  $4,250,000 plus twice the value of the property involved
  in the money laundering transactions, 5 years supervised
  release, $300 special assessment .

  b.    That any sentence imposed will be without parole .

  c.    That the Court will take into account, but is not
        bound by, the applicable United States Sentencing
        Guidelines, that the sentence has not yet been

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             determined by the Court , that any estimate of the
             sentence received from any source is not a promise ,
             and that even if a sentence up to the statutory
             maximum is imposed, the Defendant may not withdraw
             the plea of guilty.

       d.    That, unless Defendant is found unable to pay, the
             Court will impose a fine, and failure to pay it
             will subject Defendant to additional criminal and
             civil penalties pursuant to 18 U.S.C. §§ 3611-14.

4.     The United States agrees:

       a.    It will dismiss the Indictment currently pending
             against Defendant in case number 5:08-CR-75-FL.

       b.    That it reserves        the   right   to   make   a   sentence
             rec ommendation.

       c.    That it reserves the right at sentencing t o present
             any evidence and information pursuant to 1 8 U.S.C.
             § 3661, to offer argument or rebuttal, to recommend
             imposition of restitution, ' and to respond to any
             motions or objections filed by the Defendant.

       d.    That the USA-EDNC will not further pr o secute the
             Defendant for conduct constituting the basis for
             the Indictment; however, this obligation is limited
             s o lely to the USA-EDNC and does not bind any other
             state or federal prosecuting entities.

       e.    That it will make known to the Court at sentencing
             the full extent of the Defendant's cooperation, but
             the United States is not promising to move for
             departure pursuant to U.S.S . G. §SKl.l, 18 U.S.C. §
             3553(e}, or Fed. R. Crim. P. 35.

       f.    Purs uant     to   U.S.S.G.   §lBl.8,    th a t    self-
             incriminating information provided by the Defendant
             pursuant to this Agreement shall not be used
             aga i nst the Defendant in determining the applicable
             advisory Guideline range , except as provided by
             §lBl.8 and except as stated in this Agreement. The
             United States will not , however , withhold from the
             United     States  Probation   Office   any     evidence
             concerning relevant conduct.



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                    g.    That    the   USA-EDNC   agrees  not  to   share  any
                          information provided by the Defendant pursuant to
                          this    Agreement   with   other  state  or   federal
                          prosecuting entities except upon their agreement to
                          be b o und by the terms of this Agreement.

                   h.     That the USA-EDNC agrees not to directly use
                          information provided by the defendant pursuant to
                          this p l ea agreement to prosecute the defendant for
                          additional criminal offenses, except for crimes of
                          violence, but the USA-EDNC may make derivative use
                          of such information and pursue any investigative
                          leads suggested by such information.

                    i .   That the USA-E DNC agrees not to seek an enhanced
                          penalty pursuant to 21 U.S.C. Section 851.

             5.   The parties agree to the following positions as to the
        below-listed sentencing factors only, whic h are not binding on the
        Court in its application of the advisory Guideline range; provided
        that if Defendant's conduct prior to sentencing changes the
        circumstances with respect to any such factors, the United States
        is no longer bound to its positions as to those factors:

                   a.     A d o wnward ad j ustment o f 3 levels f o r acc e ptance of
                          resp o nsibility is warrant e d under U.S.S. G. § 3El.l.

             This the 7~                                   I       2008.

        GEORGE E. B. HOLDI NG
        United States Atto r n e y
                                                     cRu z'16tiRddvliEN CIA-ADATA
                                                     De fendant


        BY:
        BRIAN                                        DAVID B. FREEDMAN
        As sis            Sta t es Att o rn ey       Att o rne y for the Def e ndant
        Criminal Division


        APPROVED, this                                         I    20 0 ~ .




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